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1
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2    Samir Dizdarevic-Miller, ISB #11471
3    ETTER, McMAHON, LAMBERSON,
4    VAN WERT & ORESKOVICH, P.C.
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10   Attorneys for Plaintiff Cody J. Schueler
11
                         UNITED STATES DISTRICT COURT
12                   DISTRICT OF IDAHO (NORTHERN DIVISION)
13
14   CODY J. SCHUELER, an individual,
15
16
                         Plaintiff,             Case No. 2:22-cv-00389-DCN
17
          v.
18                                              MEMORANDUM IN SUPPORT
19   FOUR SQUAREBIZ, LLC, a                     OF MOTION FOR DEFAULT—
20   Wyoming limited liability company,         DEFENDANT KEITH O. CREWS
21
     KEITH O. CREWS, an individual and
     the associated marital community,
22
     MICAH EIGLER, an individual and
23   the associated marital community, and
24   JOHN AND JANE DOES 1-10,
25
26                       Defendants.
27
28
          COMES NOW, Plaintiff CODY J. SCHUELER, by and through his
29
30   attorneys of record, Andrew M. Wagley and Samir Dizdarevic-Miller of Etter,
31
32
     McMahon, Lamberson, Van Wert & Oreskovich, P.C., and hereby respectfully


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1
     submits the following Memorandum in Support of Plaintiff’s Motion for Default
2
3    against Defendant Keith O. Crews, individually and the marital community
4
5
     comprised thereof (hereinafter “Defendant Crews”).
6
                                         BACKGROUND
7
8         This is a commercial lawsuit stemming from the breach of three Bitcoin
9
10   Loan Agreements executed by Defendants Four SquareBiz, LLC, Keith Crews,
11
     and Micah Eigler, along with accompanying Personal Guarantees. (See ECF
12
13   No. 1.) Plaintiff Cody J. Schueler initiated this lawsuit via a Complaint filed on
14
15   September 12, 2022. (See id.) Defendant Crews was personally served on
16
     September 15, 2022. (See ECF No. 8.) The Agreements that form the crux of
17
18   this lawsuit expressly provide:
19
20         6. Governing Law. This Agreement is governed by the laws of the
21
           State of Idaho, and any questions arising hereunder shall be
           construed or determined in accordance with such law. The venue
22
           for any lawsuit filed by either party related to the terms of this
23         agreement shall be located exclusively in the federal courts of the
24         state of Idaho, U.S.A.
25
26   (See ECF No. 1 at 23, 41, 53, 64, and 74; ECF No. 1-2 at 4, 22, 34, 45, and 55.)
27
          To date, Defendant Crews has not formally appeared, filed an Answer, or
28
29   otherwise attempted to defend this litigation. (See Decl. of Andrew M. Wagley
30
31   in Supp. of Mot. for Default (“Wagley Decl.”).) On December 2, 2022, counsel
32


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1
     for Plaintiff emailed Mr. Crews indicating “we anticipate moving for a default
2
3    soon if you do not formally appear and participate in this litigation.” (Wagley
4
5
     Decl., Ex. B at p. 1.) Plaintiff now moves for default against Defendant Crews.
6
                                    POINTS & AUTHORITIES
7
8           “When a party against whom a judgment for affirmative relief is sought has
9
10   failed to plead or otherwise defend, and that failure is shown by affidavit or
11
     otherwise, the clerk must enter the party's default.” Fed. R. Civ. P. 55(a). The
12
13   two-step process in Federal Court requires the movant to obtain an order of
14
15   default prior to seeking a default judgment. See, e.g., Gargoyle Granite &
16
     Marble, Inc. v. Opustone, LLC, 2021 WL 5999133, at *2 (D. Idaho 2021) (“The
17
18   process of obtaining a default judgment in federal court involves two steps.”) 1.
19
20   For policy purposes, “the possibility of being held in default acts as a deterrent
21
     to those parties resorting to delay as an element of their litigation strategy.” 10A
22
23   FED. PRAC. & PROC. CIV. § 2681 (Westlaw database updated April 2022).
24
25   Furthermore, where “the defendant fails to answer the plaintiff’s complaint, ‘a
26
     decision on the merits [is] impractical, if not impossible.’” Edelbrock LLC v.
27
28   Genesis Grp. Int'l (USA), Inc., 119 F. Supp. 3d 1168, 1176 (C.D. Cal. 2015)
29
30
31   1
        Unpublished, out-of-jurisdiction, and secondary sources offered for
32
     nonbinding, persuasive purposes only.

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1
     (alterations in original) (quoting PepsiCo, Inc. v. California Sec. Cans, 238 F.
2
3    Supp. 2d 1172, 1176 (C.D. Cal. 2002)).
4
5
          A defaulting defendant must be properly served prior to entry of a default.
6
     See, e.g., Edelbrock LLC, 119 F. Supp. 3d at 1173. Pursuant to Fed. R. Civ. P.
7
8    4, “an individual . . . may be served in a judicial district of the United States by .
9
10   . . following state law for serving a summons in an action brought in courts of
11
     general jurisdiction in the state where the district court is located” or “delivering
12
13   a copy of the summons and of the complaint to the individual personally.” Fed.
14
15   R. Civ. P. 4(e)(1), (2)(A). In turn, “[s]erving a summons . . . establishes
16
     personal jurisdiction over a defendant . . . who is subject to the jurisdiction of a
17
18   court of general jurisdiction in the state where the district court is located.” Fed.
19
20   R. Civ. P. 4(k)(1)(A).
21
          Idaho’s long arm statute (I.C. § 5-514) provides that a defendant, “whether
22
23   or not a citizen or resident of this state,” subjects himself “to the jurisdiction of
24
25   the courts of this state” by “[t]he transaction of any business within this state” or
26
     “[t]he commission of a tortious act within this state.” I.C. § 5-514(a), (b).
27
28   Similarly, pursuant to Idaho law:
29
30         Service of process upon any such person, firm, company,
31         association or corporation who is subject to the jurisdiction of the
32
           courts of this state, as provided herein, may be made by personally


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1
           serving the summons upon the defendant outside the state with the
2          same force and effect as though summons had been personally
3          served within this state.
4
5
     I.C. § 5-515; accord State of Idaho v. M.A. Hanna Co., 819 F. Supp. 1464, 1474
6
     (D. Idaho 1993) (“Idaho Code § 5–515 provides that service may be made upon
7
8    any entity subject to jurisdiction of the courts of the State of Idaho.”).
9
10        In order to be in default, the Court must also have personal jurisdiction
11
     over the defaulting defendant. See, e.g., King v. Russell, 963 F.2d 1301,1305
12
13   (9th Cir. 1992). “In determining whether personal jurisdiction exists over a
14
15   nonresident defendant, plaintiffs must establish that 1) the long-arm status of the
16
     forum confers personal jurisdiction over the nonresident defendant, and 2) that
17
18   the exercise of jurisdiction conforms with constitutional principles of due
19
20   process.” M.A. Hanna Co., 819 F. Supp. at 1474. In addition to Idaho’s long
21
     arm statute (I.C. § 5-514), due process requirements for personal jurisdiction are
22
23   satisfied based upon forum selection clauses that “have been obtained through
24
25   ‘freely negotiated’ agreements and are not ‘unreasonable and unjust.’” Dow
26
     Chem. Co. v. Calderon, 422 F.3d 827, 831 (9th Cir. 2005) (quoting Burger King
27
28   Corp. v. Rudzewicz, 471 U.S. 462, 472 n. 14 (1985)); accord Chan v. Soc'y
29
30   Expeditions, Inc., 39 F.3d 1398, 1406 (9th Cir. 1994) (“a forum selection clause
31
32
     alone could confer personal jurisdiction”). Here, the parties entered into a forum


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1
     selection clause that expressly provides: “The venue for any lawsuit filed by
2
3    either party related to the terms of this agreement shall be located exclusively
4
5
     in the federal courts of the state of Idaho, U.S.A.” (See, e.g., ECF No. 1 at 23.)
6
          Following proper service and personal jurisdiction, default is warranted if
7
8    the defendant fails to “plead or otherwise defend.” Fed. R. Civ. P. 55(a). A
9
10   defendant fails to “plead or otherwise defend” if the defendant does not respond
11
     to the Complaint by the appropriate deadline or show some intent to defend the
12
13   allegations in Court. See Carpenters Labor-Mgmt. Pension Fund v. Freeman-
14
15   Carder LLC, 498 F. Supp. 2d 237, 241 (D. D.C. 2007) (“The defendant . . .
16
     failed to respond by the deadline and has not otherwise taken any action
17
18   indicating an intent to defend itself in this matter.”); accord McMahan v. CCC
19
20   Express Corp., 153 F.R.D. 633, 634 (N.D. Ind. 1994) (informal agreement “for
21
     an indefinite extension” of time to respond to lawsuit insufficient).
22
23        In the situation at hand, default is appropriate against Defendant Crews.
24
25   First, Defendant Crews was properly served with the Summons and Complaint
26
     on September 15, 2022. (See ECF No. 8.) Second, the Court has personal
27
28   jurisdiction pursuant to the above-referenced forum selection clause. (See, e.g.,
29
30   ECF No. 1 at 23.) Third, Defendant Crews has failed to respond to the lawsuit,
31
32
     despite multiple opportunities and informal extensions of time. (See Wagley


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1
     Decl., Ex. B.) Fourth and finally, Defendant Crews has been provided notice of
2
3    this Motion for Default, whether or not required by law.
4
5
          Defendant Crews has stalled this litigation, despite being properly served
6
     approximately 105 days ago. An Order of Default is warranted by law so
7
8    Plaintiff may subsequently obtain a default judgment. Fed. R. Civ. P. 55(a).
9
10                                       CONCLUSION
11
          Based upon the foregoing, Plaintiff respectfully requests that the Court
12
13   grant this Motion for Default.
14
15        RESPECTFULLY SUBMITTED this 29th day of December, 2022.
16
                                            ETTER, McMAHON, LAMBERSON,
17
                                              VAN WERT & ORESKOVICH, P.C.
18
19
20                                          By: /s/ Andrew M. Wagley
21
                                               Andrew M. Wagley, ISB #10277
                                               Samir Dizdarevic-Miller, ISB #11471
22
                                               Attorneys for Plaintiff Cody J. Schueler
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32


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1
                                CERTIFICATE OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the
4
5
     United States, that on the date given below, I caused to be served in the manner
6
     noted copies of the foregoing document upon the following parties:
7
8       Keith Crews                                    U.S. Mail
9       okcrews@yahoo.com                              Facsimile
10      1503 Scenic Overlook Court                     E-Mail
        Kennesaw, GA 30152                             Via Hand Delivery
11
12
        Micah Eigler
13      eigler1@gmail.com                              U.S. Mail
14      6208 Enfield Avenue                            Facsimile
15      Los Angeles, CA 91316                          E-Mail
16      PO Box 9042                                    Via Hand Delivery
17
        Calabasas, CA 91372
18
        Four SquareBiz, LLC
19                                                     U.S. Mail
        okcrews@4squarebiz.com
                                                       Facsimile
20      C/o Registered Agents Inc.
                                                       E-Mail
21      30 North Gould Street, Suite R
        Sheridan, WY 82801                             Via Hand Delivery
22
23
24        EXECUTED this 29th day of December, 2022 in Spokane, Washington.
25
26
27                                       By:/s/ Jodi Dineen
                                            Jodi Dineen
28
29
30
31
32


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